Case 1:18-cr-OO485-LAP Document 19 Filed 01/29/19 Page 1 of 2

EPHRAIM SAVITT
aettomeg atotaw
iannaaean;:a;m MMWM,
BY ECF and EMAIL
Honorable Loretta A. Preska January 29, 2019

United States District Judge
Southern District of New York
United States Courthouse

500 Pearl Street

New York, N.Y. 10007

Re: United States v. Moshe Benenfeld
Docket No. 1:18-cr-485-LAP
Reguested Adiournment of Sentencin_g

Dear Judge Preska:

I respectfully submit this letter, on behalf of my client Moshe Benenfeld, to
request an adjournment of his sentencing date, Which the Court scheduled for April
17, 2019, to a date in late May 2019 that is convenient for the Court and counsel,
With an appropriate adjustment for the presentence report deadline and the
sentencing submission schedule The primary reason for this requested
adjournment is my health status, although my client, who is wheelchair-bound due
to a serious nervous system disorder, is also facing major surgery in a few Weeks.
AUSA Dina McLeod advised that the government consents to this application

In the span of 4 Weeks in late October to late November, I underwent two
major cancer surgeries to eliminate oral, neck lymph node and thyroid
malignancies. On December lSth, I began an intensive 6-Week daily radiation
program that Will continue until this Thursday, January 31“. The radiation
treatments are causing several severe side effects, most prominently fatigue,
inability to have regular nutrition, mouth and throat soreness and reduced voice
function. My radiology team advised that these side effects are expected to
continue, albeit With progressive improvement, for 3-to-4 Weeks after the radiation
treatments are completed I am also facing less-intensive iodine therapy to track

Case 1:18-cr-OO485-LAP Document 19 Filed 01/29/19 Page 2 of 2

Whether my thyroid cancer has been hilly eliminated, Which causes similar, but
less-harsh side eifects, after I’ve recuperated from the radiation at the end of
February.

The presently-scheduled sentencing date makes it impossible for me to deal
effectively With the preparation of Mr. Benenfeld’s sentencing submission, or to
timely comply With the Probation Office’s need for financial statements, medical
records and letters from my client’s surgeons, neurologist, urologist and physical
therapists Who are addressing his myriad serious medical issues.

I thank Your Honor for your courtesy and consideratioii.'f)

  

» aim Savitt, Esq.
/ Attorneyfor Defendant
Moshe Benenj%ld
Cc: AUSA Dina McLeod (by email and ECF)
Probation Officer Michelle Millan (by email)

